Case 1:18-cv-00871-YK-SES Document 8 Filed 04/23/18 Page 1 of 11

MANDATORY JUD|C|AL NOT|CE
WR|T OF QUO WARRANTO WlTH PROOF OF CLA|M
AND ALLOD|AL FEE SCHEDULE

P R § V A TE
NOTlcE To THE Pm~cxPAL 13 NoncE 10 THE AGENT

NOT|CE TO THE AGENT \S NOT|CE TO THE PRINC|PAL

TH|S lS NOT A PUBL|C COMMUN|CATION

szse #
MJ-0920|-CR-0000039-2018

SlLENCE lS ACQU|ESCENCE, AGREEMENT, AND DlSHONOR

TH|S lS A SELF-EXECUT|NG CONTRACT

Apri| _, 2018
ADM|N|STRATIVE REMEDY
C|aim #

(Treaties and Constitution Enforced)

From: elam, rashaan, meche||e; sui juris
c/O 1004 North West Street
Apartment 5
Carlisle. pennsylvania (non Domestic, without the U.S.)
[17013]-9998

To: c/o Paul M. Feg\ey
2260 Spring Road, Suite# 3
Car|isle, Pennsylvania 17013

NO POF?T'/ON OF TH/S PF?ESENTMEI\/T /S /NTEND[;’/_`) 'I"C) }-!AF~?A$S, OFFE:'ND, C.`O/‘JSP/,"?[§,
/NT/M/DATE. BLACKMA/L, COEF?CE, OH C',,`AUSE ANX/ETY, AL/-\HM OH D/SI'F?ESS. AN`/
AFF/HMA T/ON CONTF?AHY TO TH/S \/EH/F/é`:`D STA TEME/\/T W!Ll__ COMPF.?/SE A C(")NFESSIO/\/ O/'~`
FHAUD UFON THE AGENCY OF)’ COUF€T W/~/[§`HE SUCH F?EPF?ES[§/\ITAT/ON /S MADE. TH/S V\/F?/Y`

 

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W/Ll.. SER\/E AS EV/DENCE AND TES`/‘/MONY FOH AND ON THE F?ECORD OF THE
ADM/N/STF?/\ T/\/E F’HOCEED/NG. THE CL/l//i"lA/`JT`S SOL.E //\/ T'E/\'T/ON /S TO HONOH’ABL Y SAT/SFY
/»li.i. \/`EH/F/ED t'.th_/l/MS TO I'f')'£i' COMF"L[."T£; SA'I"/S/*`/\CT/O/\i O/"` A/..l. PA/W/ES, CLOSE ALL
Aif§t§~`Oiv//\/*/`S. /'i/\/U MAKE /\Li_ /'~)AFiT/ES \/l//'/(§Ii_if. C?L/\/MANT 13 /`l P[:`/iCEFU/_ NEUTH/\L NON-
(_Z(,`)MBATA;\/T /it,i`i"t')(§f"fo'/C)i\' AM[§F€ICAN MUUF? WIT /~1’ /iiESPECI` TO iHE COHPO/'~?ATE U/\//TE:`D
SWWES

<' ina .-'i ., =zi:»izz» is~.~;‘:~ ‘ i»fi., mci il ;i¢>;»~== 1 '~ ,»`i'"‘l. ::i: does affirm and
say, that One is of the age of majority and competent to state the facts and make the claims
herein (l\/linnesota Rule 220). The attached affidavit will serve as evidence and testimony for
the record and to be read into the record, and will be labeled exhibit (A). One affirms under the
penalties of perjury that this document is true, correct and complete to the best of one’s first
hand knowledge NO THlRD PART|ES ALLOWED

Greetings: ..:! 7 :<.,i' z"./t l |’ll honor your proceedings by way of special appearance in a
non-representative capacity for the purposes of correcting mistakes so as to facilitate settlement
and closure on behalf of the defendant Ftespective to the aforementioned, | require the
mistakes on the record. outstanding jurisdictional issues, accounting, and “other” to be,
addressed, claritied, verified, and/or corrected prior to any trial so as not to disadvantage
either of the parties. Any the aforementioned denied and/or left standing will serve as grounds
for appeal and/or removal into another court and/or show of cause for tort claim. |nitially, l seek

the following clarifications regarding this matter termed Proof of C|aims to be placed On and For
the record as proof that:

2. €'<I\'v\t|i‘.tj ;Tii:"~‘.£\t*'.- vil`i iilf." ?"vltt'if :;,:~"_r i~,~'h’ tri’iif,':~,;'::=.' .;i»? ll;’i_'f;:i,., :’,Q':',i‘i_ j)f .‘»,‘.3€?1'

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Matters to be Judicia||y Notiged

The following Documents will be needed in order to go forward in this matter:
A. The court public hazard bonds in this case:

B. The Oaths office, Loyalty Oaths and surety bond information of all participating in this
procedure,

C. Delegation of Authority of the Court,
D. A verified complaint from my accuser along with an affidavit sworn thereto,
E. All tax bond receipts 10990|D, 1099A, 1099C and W-9 Tax Documents [26
USC 2032A (e) 11],
F. The authorization from the internal Ftevenue Service to go forward with this

Case #

o-17-323079-1 [26 usc 2032A (e) 111.

Allodial Fee Schedule

Wil|fu| “Torts” committed by a FUBL|C SERVANT (Table Three)

 

 

 

 

 

 

 

 

lTEM DESCR|PT|ON RATE
2.) Fai|ure to Honor Oath of Office $20,000-00
3.) Fai|ure to honor Constitutional & Loyalty Oath. $20,000-00
y 4.) Acting as a Judge (one who can hear Law) $100,000-00
Seizing and Detaining private property (tab|e four)
j lTEM DESCRlPTlON RATE

 

 

 

 

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. 13.) Court special appearances $10,000 per Spec. App

 

j4.) For every Ten (10) minutes in attendance. (A $2,500.00
j Personal Appearance Bond must be present at the
j Administrative Proceeding.

 

 

 

DEMAND FOR |DENT|F|CAT|ON AND CREDENT|ALS QUO WARRANTO

.i;;»..\;-; ?"‘:ni tvi Zi'~_~giey, this is a formal Request and Command for all to produce for the record,
the physical documentation of your ‘Delegation of Authority, as proof of jurisdiction as required
by law, pursuant to Article |ll, Section l of the United States Republic Constitution. This
Administrative Notice and Demand is not intended to hinder, delay, obstruct, intimidate, harass
or in anyway threaten anyone, but is simply a means of invoking recipiente’s duty to act
pursuant to the below quoted instructions i.e. (laws, cases and statutes), which apply to the
recipient iri recipients official capacity, for lawful disclosure

. of vitally needed information Should recipient not timely and fully comply, it will be deemed, by

3 tacit procuration, your implied consent too a challenge, pursuant to a petition for a Writ of Quo
Warranto [63 Am Jur2nd 5, 441], to your authority, in a court of correct jurisdiction
l

information Needed:

1. Oath of Office [Title 5 USC § 3331]

2. Officer Affidavit [Title 5 USC § 3332] and/or
3. Emp|oyee Affidavit [Title 5 USC § 3333]

4. Surety Bond [Title 5 USC § 2901]

5. Registration [Title 22 USC § 611 81 612]

Ftes Judicata

[Hagans v. Lavine 415 U.S. 533], There is no discretion to ignore lack of jurisdiction
[Joyce v. U.S. 474 2d 215]; The law provides that once State and Federal jurisdiction has
. been challenged, it must be proven [Martin v. Thiboutot 100. S. Ct. 2501 (1980)];

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*Jurisdiction can be challenged at anytime, and *jurisdiction, once challenged, cannot be
assumed and must be decided. [Basso v. Utah Power & l_ight Co. 495 F.2d 906,910].

PUBL|C HAZARD BOND|NG OF CORPORATE AGENTS: All officials are required by federal,
state. and municipal law to provide the name, address and telephone number of their public
hazard and malpractice bonding company and the policy number of the bond and, if required, a
copy of the policy describing the bonding coverage of their specific job they are performing.
Fai|ure to provide this information constitutes corporate and limited liability insurance fraud [15
USC] and is prima facie evidence and grounds to impose a lien upon the official personally to
secure their public oath and service of office [18 USC 912]. Whoever, having taken an oath
before a competent tribunal, officer, or person, in any case in which a law of the United States
authorizes an oath to be administered, willfully and contrary to such oath states or subscribes
any material matter which he does not believe to be true, is guilty of perjury and shall be fined
no more than $2,000.00 or imprisoned not more than five years or both [18 USC §1621]

[18 USC 1651] Piracy under the Law of Nations; Whoever on the high seas commits the crime
of piracy as defined by the Fami|y of Nations and is aften~ards brought into or found in THE
UNlTED STATE shall be imprisoned for life.

All rights and liberties reserved

By

Authorized Representative
without the U.S.

 

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B°N”NUMBER SURETY B()ND
lilj\ii"’~li filififltlillilili
$300,000,000.00
To: l)enuis li. Lebo, hereinafter "Fiduciary"' lssue Date: April 17 2018

Cumberland County Clerk ol`Courts
l Courthouse Square Expiration l)ate: April l7, 2048
Room 205
Carlislc, Peunsylvania 17013

l~`or: Rashaan Mechelle Elam Account l~loldcr
ELAM, RASl»|AAN M_. [sicj, and all derivatives thereof Account 1~loldcr
Case No. MJ-0920l-CR~()()00039-2018, M[)J 09-2-()1 of`l’ennsylvauia Account llolder
Dennis Lebo, Cumberland County Clerk ol`(`ourts Account Holder
Paul M. l"egley., Magisterial District Judge, Ml).l 09-2-01 Aceount llolder
M. L. libert .1r., Curnberland (.`ounly District Attorney Account l~lolder
COUNTY ()l" CUMBERLAND_ and all subdivisions and agents thereof Account llolder
S'l`/\.'l`li ()l" l’l~]NNSYLV/\Nl/\, and all subdivisions and agents thereof Accounl l'lolder
UNlTlil) S’|`A'li~lS, and all subdivisions and agents thereof Account |lolder
Social Security Account Numbcr: XXX-XX-XXXX for F.l.AM, RASllA/\N M_. Account

each severally
By./()n/'l`lu'ough: Rashaan Meche|lc Elam, Prineipal, hereinafter "Creditor"
l’rivate (')1iset Account No. 21 168/1720

KN()W /\1.1, l\/ll~jN BY THESl~I 1’1{1§81`;1\1'1'8. which are intended to constitute a Surety Bond; and Wl'll§Rl§/\S_ only fiat money exists in circulation for the
discharge ol`debt:

N()W_ 'l'l lliRl~`.l-`()Rli. the undersigned Creditoi' being of` sound mind and honorable intentions, for the purposes ol` protecting secured intercsts, reserving
rights ol`i‘ccourse` remedy and subrogation and maintaining the honor of`thc above-named Account lloldcrs and Accounts. does by necessity hereby issue
this Sii/'vl_v Bom/ to wit; ln my rightful Sui'Jur/.s' status. the Crcditor does hereby knowingly and with 1`ull disclosure hold. bind and obligate myself`joiutly
and severally by this instrument as voluntary surety I`or all ol` the above-noted Accouut l'lolders and Accounts. each severally including without
liinitation. Rashaan Mechelle l€lam` l’ri\'atc ()fl`set Account No_ 211()84720. and lil.Al\/l. R/\Sll/\AN M___` Social Sccurity /\ccount No_ 21 l-()8-472()` f`or
any amount up to and iucluding: '|`hrec llundred Mil|ion United States l)ollars` i.c.. $300,0(1(1,1)1)0.00. insuring underwriting identifying and
discharging the said Aecount llolders and Accounts against any and all pre-existing, current and future losses, costs debts. taxcs` encumbrances deficits
deficiencies liens. judgments 'l`rue Bills‘ obligations of` contract or perl`ormanee. del`aults_ charges and any and all other obligations as may exist or come
to exist during the term of` this Bond (jointly and severally "l.iabilitics"). thereby honorably discharging and vacating dollar 1`or dollar all such obligations
until the sum or the term of` this Bond is exhausted 'lbe fiduciary shall have ten ( 101 days I`roin presentment to dishonor the Bond by returning it to the
|’rincipal by (`ertified Mail at the exact mailing location shown bclow. liailure to return will stipulate acceptance and honor.

B()Nl) ()RDER

1. 'l‘he |~`iduciai'y shall discharge and vacate all pre-existing and current liabilities as may exist without exception f`or, against and on bchalf`ol` any
and all ol` the above-noted Account Holdcr(s) and Accounts_ each severally, including, without limitation Rashaan Mechellc lilam. Private
()iiset Account No_ 211(»84720, and lfl.AM. RASl~lA/\N M.._. Social Security /\ceount No. 211-68»472(). dollar 1`or dollar through the above-
uoted l’rivate Ofi`set Account up to and including the f`ull 1-`ace Value amount ol` this Bond_

id

Liach ol` the above-noted /\ccount l'lolderts) and /\ccounts shall bc severally insured, underwritten and indemnified against any and all f`uture
liabilities as may conte to exist. discharging and vacating all such obligations dollar l`oi' dollar without exception through the above-noted
Pri\atc ()fi`set account up to and including the full 1~`ace Value amount ol`this Bond,

L¢J

'l`hc l"iduciary shall have ten th) days f`rom the date ol` delivery oi` this Sn/'el_\' Bond to dishonor this Bond by returning it to the l’rincipalt with
all associated transactions annexed thereto, by Certiiied Mail at the exact mailing location shown below_ 'l`hc 1~`iduciary's failure to return this
Bond within the time stated above shall constitute the 1~`iduciary's acceptance of` this bond, thc 1~`iduciary`s agreement to honor this instrument
and thc l"iduciaty`s agreement to set¢ol`l` all associated transactions and claims submitted by the Principal. as they occur. in fiill accord with
l’ublic Law. l’ublic |’olicy.' and the terms and conditions contained .herein.

4, All communication shall be sent by llnited States Ccrtilied Mail directly to the l’rincipal at the exact__ temporary mailing location shown below_
Serviee in any other manner will be defective ’lhe l’rincipal will accept post at the said mailing location only.

5. 'l`his Bond shall be ledgcred as an asset to the benefit of`thc l)epartment of`thc 'l`rcasury_

(). ‘1`his Bond expires at 11:59;5‘)1)1\/1` April 17. 2()48.

lixecuted by the undersigned on this the chentecuth day of`September. in thc year 'l`\vo-thousand nine. All Rights and Remedies Reserved_

13ny 12 tscal)

l ' = .. ‘ - z 5- . Principal/Undeiwriter
l'ixemption Il) # 21 168472()

Non-domestic mail

in care o 1`: 1004 North West Strect

Cai'lisle. Pennsy|vania

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